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Probation Officers surveyed in Sonoma County rated the availability of services
for Spanish-speaking offenders as Average to Below Average.

Sonoma County must continue to plan for Spanish-based services
population: 40% of births in the County are now Latino.

Domestic Violence

Sonoma County has made a tremendous commitment to domestic
violence (DV) services through its specialty court, its specialized DV
probation caseload (9 staff), and well integrated victim services.

Domestic Violence offenders have court reviews at 30 days or 45 days, and then
again at 60 days and 90 days. Those with problems can continue to be seen by the
courts every month.

The probation officers do not have a PSI on all domestic violence cases
assigned to them, but they are required to do a Lethality Assessment on
each case. Sonoma stands out in terms of the level of supervision it
provides this population.

Sonoma Count's Probation Departinent is tracking 797 DV cases (some of which
are on warrant status).

Although California statutes do not require formal probation for all
domestic violence cases, , the local policy is to begin cases with this level
of supervision. Three probation officers supervise intensive caseloads of
45-60 individuals each. Other officers who handle ‘office’ or ‘bank’
caseloads have 160 to 400 cases respectively.

Sonoma County reports a higher DV program completion (599%) rate than the
state average (54%).

The County has five DV providers with whom it works. Each program
has a different way of doing business, and different approaches to
communicating information.

Overall, the system would be well served by more centralized tracking of
program data: admissions, missed meetings and other violations, and
program completion information.

Risk-Based Services

In terms of specializing services, one overlooked area is the separation of
treatment populations by risk level. Yet, the literature on ‘what works’

3 California Stale Auditor Report, 2005-130, “Statistics and information on the Monitoring of Batterer
Iniervention Programs: as Provided by 58 County Probation Departments.”

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argues for not mixing high and low risk offenders in the same treatment
groups. Low risk offenders are especially impacted, with evidence of
higher than expected recidivism rates for low risk offenders who are
mixed with high risk offenders, While this may be ideal, it is a tall order
for most jurisdictions doing the best they can to serve a diverse
population.

Vv

Advocate for Improvements to SACPA

SACPA has proven to be an effective program and deserves support. The
research conducted for the State on Proposition 36 supports continued
funding. These findings” include the following:

* Reduced incarceration costs (Jail costs were, at 30 months after
program participation, 41% lower for those who completed the
program versus those who never entered.)

* Reduced system costs ($4 saved for every $1 spent for completers)

* Improved client outcomes

Sonoma County performs favorably when compared to other counties on
measures such as reported completion rates, which at 40%, is higher than
the state average. This is undoubtedly a reflection of reported high levels
of system collaboration, a reported willingness to work with higher risk
cases, a drug court reporting model, access to residential treatment, and
an attempt to provide real consequences for non-compliance.

The importance of providing substantive services is evident when one
considers that, although Prop. 36 was meant to target the lower risk
population, roughly half of those who entered the Sonoma County
program when it started had at least 15-20 years of serious substance
abuse.

Although we applaud the effort to divert more cases from a custody
track, there is room for improvement. We recommend that the
state/ county discussion on reform include the following elements:

» Make Use of Jail Sanctions: Jail sanctions should be an integral
part of the program in order to hold defendants accountable
and improve outcomes. In Sonoma County the Drug Court
program, which employs jail sanctions has, we are told, half the
recidivism rate of the SACPA participants. It is striking that
these two approaches to offender management co-exist. Jail
sanctions do not need to be lengthy to be effective, and we
advocate short, 2-3 day sanctions designed to send a message to
the participant without interrupting employment. Of course,
jail sanctions should be the last resort on a full continuum of

4 UCLA, April 5, 2006, “SACPA Cost Analysis.”
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graduated sanctions. Other sanctions, such as a dedicated Work
Crew program, should be explored at the local level.

» Expand Eligibility: Although Proposition 36 is targeted at the
non-violent first or second drug-using offender, the reality is
that the actual population being served is more serious than
anticipated: half have a criminal history and half have 15-20
years of alcohol and drug use. At the same time we need to
make sure that treatment resources are being directed at the
most serious offender. This includes all property offenders and
those involved with drug sales.

Incorporate Criminal Risk: Research makes the case that the
most intensive resources should be reserved for the highest risk
cases; and that the greatest reductions in recidivism can be
achieved by targeting the higher risk criminal defendant. The
Probation Department is currently receiving training on a new
criminal risk tool; the use of this instrument should be used to
inform the allocation of treatment resources. This is consistent
with best practices.

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» Best Practices: We recommend that attention be given to other
best practices that are associated with lower recidivism: early
entry into treatment (the County has taken steps to provide
waiting groups); sufficient length of time in treatment (the State
should mandate a therapeutic minim); continuity of care; and
specialized services. And, across the continuum of services, the
more intensive services, such as Drug Court, should be used for
the more serious offender.

» Jail Treatment : As part of the reform measure we encourage
the use of jail treatment for a small group of offenders who
need a more intensive stabilization phase, and would be well
served by a jail program such as the one available in Sonoma
County. Presently, this local resource is not used for the
SACPA population.

» Data Collection: At the State level we recommend
standardization in how jurisdictions define completion or
‘satisfactory progress,’ in order to achieve greater consistency in
reporting. The State should also refine data collection so better
distinctions can be made between drug possession and sales. At
the County level we will be looking at the kind of data that is
collected and making specific recommendations.

» Address Issue of Incentives: While SACPA has tremendously
increased the number of treatment admissions, both statewide

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and locally, not everyone who is eligible is taking advantage of
this. The truth is that, for some defendants, a 30-day jail
sentence does not offer enough incentive to enter a more
lengthy treatment program. For some, the program needs
more ‘teeth.’

» Reward Success: State funds are allocated to counties according
to a formula that takes population, caseload and arrests into
account. We would encourage a formula that also rewards
counties for positive performance, as a means to encourage
improvement. Sonoma County should fare well under such a
system.

The other very real issue is with a state commitment to adequate levels of
funding. The estimated amount needed statewide by the California
Association of Alcohol and Drug Directors, is roughly two times that
originally proposed by the Governor earlier this year. The level of
funding to provide quality services, sanctions, and follow-up should
continue to be debated.

» Expand Population Served in Mental Health Court

Probation Officers gave the lowest marks for treatinent availability for dual-
diagnosis treatment.

The County is challenged by the eventual loss of Sutter (Sonoma County
has one of the only free-standing psychiatric units in the state), and the
inpatient psychiatric unit, as well as funding shortfalls: a funding system
that does not keep pace with program growth and inflation. Mental
Health Service Act dollars have helped in part to address unmet needs,
but these funds cannot be used to supplant existing services.

The FACT program has in the past been shown to produce good outcomes
in terms of improved quality of life and reduced impact on the jail and
health systems. This 24/7 program, with its investment in a team
approach to case management, is one end of the therapeutic spectrum
found in criminal justice programs. The Sonoma County approach, by
using a mental health court model, has the framework in place to
eventually address a population who needs less intensive services.

That this model can also be effective has been demonstrated by recent
evaluations. One such review was conducted for the MH Court in Provo,
Utah, noteworthy because of the nature of the cases accepted for
participation: more than 2/3 of the mental health court participants are
seriously mentally ill. Persons are only excluded for personality or
psychopathic disorders, and for alcohol related dementia. Still, outcome

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data shows that participants (even without intensive case management)
had more than a three-fold drop in jail days, comparing one-year prior to
program involvement with time since program completion or
termination.”

The FACT program targets individuals with Serious and Persistent Mental
Hlness (SPMI) who have an AXIS I diagnosis, a history of repeat bookings into
the Jail, a misdemeanor charge (and less serious felory charges), are sentenced to
probation, and volunteer to participate.

Given the successful record of the FACT team in Sonoma County, the
question is whether the existing court structure can also be used to serve a
less seriously ill population. A less intensive track would be one way to
address the need. The fact that Probation has a specialized mental health
caseload positions the county well to consider how to intensify services
for this population. And, the issue of risk comes into play as well: How
do the populations served by FACT and on the Probation Mental Health
caseload compare? Again, the goal should be, where appropriate, the
assignment of the higher criminal risk, as well as higher need, defendant
to the more intensive services.

Sonoma County Probation is also dealing with some complex mental
health cases: offenders who have supervision conditions that at times
cannot be satisfied because of a lack of services.

There is much to be done to address this issue. Sonoma County has some
excellent services in place on which to build.

Provide Extended Jail Discharge Planning

“It is the middle group we dor’t serve well: those whose problems are not yet
severe enough to get them public medical benefits, but too severe to be served by
many services.” (Sonoma County Discharge planner)

Sonoma County has developed discharge planning for the mentally ill
exiting jail. The key to good planning is coorclinated case planning, and
this county has a strong history of interagency work.

Model discharge planning addresses factors necessary for community
stability upon release: case management, treatment, housing, and
medication. The gold standard comes out of a class action lawsuit in New
York City several years ago (Brad H. case) that was brought on behalf of
the seriously mentally ill in that city’s jails. The court ruling, in support of
the incarcerated mentally ill, was sweeping in its remedy.

* Wastach County Mental Health, Mental Health Court outcome report.
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At minimum, discharge planning depends upon an assigned staff person
stationed in the jail, who can act as a liaison between the inmate and the
larger system to coordinate appropriate care upon release.

19% of misdemennants and 21% of felons booked into the Sonoma County Jail
had 10 or more prior bookings

Stabilizing the mentally ill upon release is a humane and responsible
gesture, and it can also serve to reduce repeat bookings. A small group,
usually with low-level charges, is responsible for a high number of
release /re-arrests.

One of the challenges in discharge planning, not unique to this county, is
that Medicaid /Medi-Cal cannot be billed for inmates in jail; benefits are
terminated upon incarceration, and in-custody mental health services are
not billable. Some states have addressed this (Oregon is one) by working
with the legislature to pass laws requiring that benefits be suspended (not
terminated) when in jail.

Another challenge is providing extended coverage after discharge for
those persons who do not have access to public benefits. If a defendant in
Sonoma County has SSI it is fairly easy to locate clean and sober or
supported housing. But those without SSI may wait up to 9 months
before being placed.

Despite all these issues, Sonoma County has done a good job of
establishing a good discharge planning program.

The Sonoma County Discharge Planning program served roughly 500 persons
over its first two years.

As with any re-entry planning, on-going case management for the more
chronic cases is essential to long term success. The program could identify
a sub-population of underserved, higher need /higher risk individuals
who could be targeted for continued case management. While the new
county outreach effort (the Community Intervention Program) heips fill
this gap, specific and on-going services for the discharge population
should be pursued.

Just as with all other services in the criminal justice system, resources
must be stretched by building tiers of services based on risk and need.

Expand Dual Diagnosis Treatment

Sonoma County substance abuse treatment providers are serving a
population with mental health issues.

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Sonoma County outpatient treatment providers (with the lower levels reported by
Drug Court and CHD) reported that, on average, 15% of clients were taking
psychotropic medications.

The percentage of clients in local residential who are on psychotropic
medication is higher, estimated to range from 30% to 50%.

The County has made an important and recent improvement to substance
abuse treatment with the access to psychiatric services, through Mental
Health Service Act funds (Prop. 63). But treatment resources are limited.
The County has some dual-diagnosis substance abuse treatment slots,
TASC will provide case management for some low-level cases, and there
are a handful of residential treatment beds.

Continued efforts in this area should be pursued, with the hire of more
staff with mental health expertise.

As in most jurisdictions, there is more to be done at both the local and
state level when it comes to mental health services. NAML, the national
advocacy group for the mentally ill gave the state of California a C grade
in 2006. “ It applauds it for its commitment, through the Mental Health
Services Act, to provide a stable source of funding for mental health
services; gives praise for moving in the direction of evidence based
practices, such as the adoption by some counties of the federal Assertive
Community Treatment (ACT) model; and encourages the move toward
the development of more supported employment — to name a few.

Sonoma County has laid a good foundation on which to build.
Improve Mental Health and AODS Coordination

Sonoma County is not alone in the lack of fully integrated mental health
and alcohol and drug services. The issues at hand are real and involve
separate information systems, separate funding streams, and separate
programs and approaches. But Sonoma County has proven to be
successful in finding ways to work across agencies to address mental
health issues common to them all. This is a tribute to all involved. A few
examples of county cross-agency efforts include:

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Jail Liaison/ Probation Officer

Jail Mental Discharge Planner
Psychologist in Jail to address 1370 issues
FACT Interagency Model

Psychiatric Resources for AODS (new)

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** NAMI Grading the States, 2006, “A Report on America’s Health Care System for Serious Mental
HJness,”

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* Multi-agency MH Review Team (MHRT)
* Law Enforcement Crisis Intervention Training (CIT)

Outstanding issues remain. One relates to Information Access. The need
to protect individual information and conform to HIPPA regulations has
also created barriers for information exchange. This can frustrate the
efforts of criminal justice players who need access to information to make
informed decisions at each stage of case processing. The ability to identify
active mental health clients affects decisions regarding quick pre-trial
release, swift access to diversion programs, and continuity of care. This
issue should be revisited as part of the discussion about establishing Pre
Trial intake services.

Another issue has to do with bifurcated funding. Many residential
treatment providers won’t accept the mentally ill unless they have a
written prescription for medication. But AODS cannot use their funds for
medications. The process for mental health review of these cases should
be examined, and consideration given to a dedicated fund to address
dual-diagnosis clients in these circumstances.

Review Supervision of Low-Level Offenders

Sonoma County’s Probation Department is ahead of the curve in
California. It has developed a good array of specialized services.
Specialized caseloads are in place for domestic violence, drug court, sex
offenders, mentally ill, and gangs. All violent cases are assigned to
intensive supervision caseloads (ISP) which can serve a broad mix of
persons.

A commitment has also been made to maintain smaller caseloads,
reallocating the workload to achieve more manageable intensive
caseloads. Intensive/specialized caseloads average 60-70 persons;
medium caseloads are at 160; and case-bank caseloads are 450-500.
Although these are still large numbers (the American Probation and
Parole Associate has recently recommended that intensive caseloads be in
the 30-35 person range), the lower caseload numbers are still good by
California standards.

At the same time, the Jail is impacted by the failures (new crimes) of those
offenders on informal supervision.

In the case processing sample, 31% of felowy defendants and 35% of
misdemeanants were on probation at the time of booking into jail.

The rate of probation involvement for Sonoma County defendants at
booking is high. Nationally, 15% of felony defendants are on probation at
the time of booking.

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Only 10% of the misdemeanants and 18% of the felons on probation supervision
at the time of booking were being supervised on a formal caseload.

The fact that the population rearrested on new charges was, for the most
part, not on formal probation raises questions about the length of
supervision (offenders kept on informal supervision for long periods have
an impact on the jail and system resources), and the level of supervision
and services needed.

The new risk assessment tool can be an applied to this population for
purposes of analysis. It may be that there is an identifiable higher risk sub-
group for whom maintenance at a higher level of supervision and services
may be warranted.

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V. Information Systems

>» Maintain the Integrated Court and County Information System

The data contained in this report was produced with programming from
ISD. It was made possible by the integration of the information systems
between the Sheriff and the Court.

While it is understood that the Court has decided that itis important to
standardize court information systems in each county throughout the
state, it is critical that the new system continues to communicate with
Sonoma County’s system. It is crucial to have regular data about
defendant processing as well as jail population issues. This kind of data
supports jail management, system efficiency, defendant processing, and
planning. The systems can’t be looked at independently; the linkage is too
important.

This goal is important both for daily input of information—as a clerk sets
a court date for an in-custody defendant that the date shows up in the
jail’s system — as well as for producing management reports, such as
displayed in this report and presented at the symposium.

It is recommended that the Court continue to work with the County to
continue this important partnership.

>» Integrate Mental Health and AODS Data

The lack of integrated mental health and AODS data causes inefficiencies,
delays program placement, and can diminish continuity of care. To the
extent allowable by privacy laws (HIPPA rules have been relaxed in some
places to allow limited but shared access within criminal justice systems)
information should be available to support quality system responses.

>» Improve Information Sharing

Delays in the transfer of information can have negative repercussions,
impacting system efficiency and service effectiveness. This is the case
when the Pre-Trial supervision unit must wait days for court information;
when the PSI unit does not receive immediate notice of cases in need of
attention; and when TASC does not receive notification of referrals. In the
case of TASC, there are times when a defendant languishes in jail because
program staff is not aware that the court has referred a case. It often
takes receiving a letter from the inmate to be aware of the referral.
improved information sharing serves the whole system.

Access to information can be another barrier to quick action. TASC
workers noted that often they are reviewing the PSI at the time of

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sentencing; do not have access to Probation’s automated files; lack good
access to automated information regarding defendant treatment history
(requiring a reliance on self-report information); and don’t have easy
access to jail files. Whether some of this information could be made
available, within the limits of confidentiality laws and rules, should be
reviewed.

> Establish Routine Data Reports

The Criminal Justice System should routinely track summary data from
each component of the system. This summary information, provided ona
quarterly basis, will allow the on-going assessment of system workload,
trends, and outcomes.

The information presented in this Report provides baseline data for the
Jail and the system. Routine review of this kind of information is
recommended to track changes in population make-up, demands on the
system, and improvements in case processing efficiency.

> Establish Evaluation Protocol

The measurement of system efficiency must be coupled with the tracking
of system and program outcomes. Any data collection protocol should be
simple but substantive; and the data should be reviewed on a regular
basis. Some of this data is already collected, some is not. The types of data
to coliect are noted below:

Process Data

Tracking program admissions and discharges is the most common type of
process data. We suggest that this be enhanced by additional types of
information. Some information, such as ‘no show’ rates, can be
instructive: For example, the 30% no show rate for CHDC’s ADS program
is thought to be related to the fact that the mailing address on the citation
is often wrong. This raises the question of how to improve front-end
information collection and verification.

For a Drug Court program the ‘reason not admitted’ can point out other
issues that need to be addressed. A review of this information in one
jurisdiction revealed, for example, that those offenders who turned down
the drug court option often lived outside of the main town and had
transportation issues. The program is now working to set up a satellite
drug court program in that area of the county.

Ata minimum, the following information should be available for each
program.

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Number Referred

Referral Source (including number direct from Jail)

Number Show/ No Show

Number Admitted

Number Not Admitted or Who Choose Not to Opt In (and reason)

Percent Successfully Complete / Unsuccessful (and reason)

Exit Type: whether continued in treatment and, if yes, the type

Average Length of Stay in Program (all admits; graduates; not

graduate)

* Amount of Restitution Collected/% of Restitution Ordered that is
collected

* Fees collected

* For those in Outpatient Treatment, number in residential treatment

Profile Data

Ata minimum the program should collect the following information.
Some of this information is already required by the state and there are
protocols for how it is broken out that goes beyond what is listed here.

The collection of substance abuse severity scores (ASI) and other
indicators should be tracked at entry and exit from the program.

* Age, Gender, Race/Ethnicity / Marital Status/ Residence
Status /Employment Status

Legal Status: pre-file, post-file not sentenced, sentenced

Most Serious Charge / Conviction

Charge or Conviction Level: Felony or Misdemeanor

Criminal Risk Score

Substance Abuse Severity Score

Primary drug of choice

Mental Health Diagnosis

Mental Health Case Manager: yes/no

Probation Status: Yes/No

Participated in Starting Point program: if yes, length of stay

Dependent Children: yes/no (If yes, age and place of residence)

Principles of Program Effectiveness

The most common form of study simply measures recidivism without also
addressing program delivery or quality. Because research can now link
certain program characteristics with positive outcomes it is imperative to
review and track this information as well. In this way, outcome data can
be analyzed in the context of program performance.

The importance of an objective assessment instrument is fundamental.
Where valid, we recommend periodic validation of these instruments. But
how these instruments are used should also be periodically reviewed. Are

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the instruments being used as designed? One study of a risk assessment
instrument in use at a Probation Department found that staff had been
using so many over-rides that the tool had no significance. There should
also be a review of the consistent application of the tool: do the users tend
to arrive at the same conclusions?

Program characteristics to monitor through a quality control program
include:

Use of objective assessment instrument

ASAM/ ASI score

Clinical supervision

Staff turn-over

Program Intensity

Program Duration

Individualized Treatment Plans

Address Criminal Thinking

Address Support Issues (job search, housing, etc.)
Use of cognitive curricula

Fair and Consistent Use of rewards/ punishments
Type and Frequency of Staff Training

Client feedback on issues of quality of services, fairness, respect, etc.

system Impact Data
Few programs collect data regarding how non-compliance impacts the
jail. This is important information for any final cost-benefit analysis.

* Number of Jail days used during program as a sanction (by graduates;
no graduate but progress; terminate.
* Number of Jail days served by clients terminated

Outcome Data
Program outcome data needs to be tracked for several years in order to
make a determination about the program.

Comparing outcome data by matched groups (matched on offense, risk,
and profile) should also be made part of the ongoing analysis. One
approach is to compare program graduates with those who were eligible
but not admitted /did not opt -in/or dropped out. Where possible, an
attempt should be made to document the level of treatment (if any)
received by the comparison groups.

Pre and post test comparisons are another approach, measuring certain
indicators (bookings, arrests, convictions, jail days, hospital admissions,
etc.) pre and post program participation.

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New Arrests/ New Convictions: at 1 year; 18 months; 2 years; 3 years
(sex offenders outcomes should be tracked for 5 years)

New Arrests/New Convictions by: graduates; no graduate by
progress; unsuccessful terminate.

New Arrests/New Convictions by length of time in program

New Arrests /New Convictions by: felony drug; felony non-drug;
misdemeanor.

Percentage of drug-free babies born during program

Cost Data
Program cost information should address the following:

Total cost
Per day cost
Average Cost per treatment episode

Conclusion

This Report contains many recommendations, which, if implemented, will
go a long way toward managing the Jail population. Some of the
recommendations require a real investment in both time and money, but
can be viewed as a ‘pay me now or pay me later’ proposition. This is
because the implementation of these recommendations will result in the
more efficient management of existing resources, thereby delaying the day
when the county again needs to start planning to build more jail beds.
Taken together, these measures form a strategic Corrections Master Plan
for Sonoma County.

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